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                           EXHIBIT B
Modified, Reclassified and/or Wrong Debtor and Allowed Claims and
Amended or Superseded, Redundant, No-Basis 503(b)(9) and No-Basis
                           Pension Claims
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                                                            Exhibit B
                                  Modified, Reclassified and/or Wrong Debtor and Allowed Claims
                                                                and
                                 Amended or Superseded, Redundant and No-Basis 503(b)(9) Claims
Claim to be Modified
                              Claim Number                              Modified Claim
                              Date Filed             Total Amount         Amount or         New Case Info and   Reason for Modification
Name/Address of Claimant      Case Info                 Claimed        Disallowed Claim     Identified Debtor   or Disallowance

BUI, TAM B                    6665                             - (S)                - (S)   09-10140            Modify and Allow. Based on careful review of
1991 UPHALL COURT             1/11/10                          - (A)                - (A)   Nortel Altsystems   the Debtors’ Books and Records, their
SAN JOSE, CA 95121            09-12515                         - (P)                - (P)   Inc.                Schedules and the Proofs of Claim, including
                              Nortel Networks         $5,142.77 (U)        $5,589.80 (U)                        the supporting documentation provided by
                              (CALA), Inc.            $5,142.77 (T)        $5,589.80 (T)                        the Claimant, the Debtors have determined
                                                                                                                the claim amount should be adjusted from
                                                                                                                the amount listed in the column entitled Total
                                                                                                                Amount Claimed to the amount listed in the
                                                                                                                column entitled Modified Claim Amount.
                                                                                                                Claim Amount.

                                                                                                                Wrong or No Debtor. Based on a careful
                                                                                                                review of the Debtors’ Books and Records,
                                                                                                                their Schedules and the Proofs of Claim,
                                                                                                                including the supporting documentation
                                                                                                                provided by the Claimant, the Debtors
                                                                                                                believe that the Claim should be asserted
                                                                                                                against the Identified Debtor.
FAIR HARBOR CAPITAL, LLC AS   8141                             - (S)                - (S)                       The Claim asserts liability for termination
ASSIGNEE OF KHAI VO           1/6/12                           - (A)                - (A)                       benefits.
PO BOX 237037                 09-10138                $1,663.62 (P)        $1,663.62 (P)
NEW YORK, NY 10023            Nortel Networks Inc.   $29,801.87 (U)       $29,801.88 (U)                        Modify and Allow. Based on careful review of
                                                     $31,465.49 (T)       $31,465.50 (T)                        the Debtors’ Books and Records, their
                                                                                                                Schedules and the Proofs of Claim, including
                                                                                                                the supporting documentation provided by
                                                                                                                the Claimant, the Debtors have determined
                                                                                                                the claim amount should be adjusted from
                                                                                                                the amount listed in the column entitled Total
                                                                                                                Amount Claimed to the amount listed in the
                                                                                                                column entitled Modified Claim Amount.
                                                                                                                Claim Amount.
GAO, LANYUN                   411                             - (S)           Disallowed                        Claim is redundant of claim 2573 filed by the
4405 BELVEDERE DR.            2/26/09                         - (A)                                             claimant or an affiliate of the claimant
PLANO, TX 75093               NO DEBTOR              $35,510.28 (P)                                             asserting the same underlying liability.
                                                              - (U)                                             Remaining claim 2573 has also been
                                                     $35,510.28 (T)                                             modified, reclassified and/or applied to the
                                                                                                                correct debtor on this Exhibit.



(S) - Secured                                                                                                                                      Page 1 of 5
(A) - Administrative
(P) - Priority
(U) - Unsecured
(T) - Total Claimed
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                                                         Exhibit B
                               Modified, Reclassified and/or Wrong Debtor and Allowed Claims
                                                             and
                              Amended or Superseded, Redundant and No-Basis 503(b)(9) Claims
Claim to be Modified
                           Claim Number                             Modified Claim
                           Date Filed             Total Amount        Amount or         New Case Info and   Reason for Modification
Name/Address of Claimant   Case Info                 Claimed       Disallowed Claim     Identified Debtor   or Disallowance

GAO, LANYUN                2573                            - (S)                - (S)                       The Claim asserts liability for termination
4405 BELVEDERE DR.         9/3/09                          - (A)                - (A)                       benefits.
PLANO, TX 75093            09-10138               $35,510.28 (P)                - (P)
                           Nortel Networks Inc.            - (U)      $19,512.43 (U)                        Modify and Allow. Based on careful review of
                                                  $35,510.28 (T)      $19,512.43 (T)                        the Debtors’ Books and Records, their
                                                                                                            Schedules and the Proofs of Claim, including
                                                                                                            the supporting documentation provided by
                                                                                                            the Claimant, the Debtors have determined
                                                                                                            the claim amount should be adjusted from
                                                                                                            the amount listed in the column entitled Total
                                                                                                            Amount Claimed to the amount listed in the
                                                                                                            column entitled Modified Claim Amount.

                                                                                                            Reclassify and Allow. Section 503(b) and
                                                                                                            507(a)(4) govern the administrative status
                                                                                                            and priority of claims, respectively. Based on
                                                                                                            careful review of the Debtors’ Books and
                                                                                                            Records, their Schedules and the Proofs of
                                                                                                            Claim, including the supporting
                                                                                                            documentation provided by the Claimant, and
                                                                                                            pursuant to the requirements of sections
                                                                                                            503(b) and 507(a)(4) of the Bankruptcy
                                                                                                            Code, the administrative status (if applicable)
                                                                                                            and priority status of the claim has been
                                                                                                            reclassified, and the reclassified amount is
                                                                                                            reflected in the column entitled Modified
                                                                                                            Claim Amount.




(S) - Secured                                                                                                                                  Page 2 of 5
(A) - Administrative
(P) - Priority
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(T) - Total Claimed
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                                                            Exhibit B
                                  Modified, Reclassified and/or Wrong Debtor and Allowed Claims
                                                                and
                                 Amended or Superseded, Redundant and No-Basis 503(b)(9) Claims
Claim to be Modified
                              Claim Number                              Modified Claim
                              Date Filed             Total Amount         Amount or         New Case Info and   Reason for Modification
Name/Address of Claimant      Case Info                 Claimed        Disallowed Claim     Identified Debtor   or Disallowance

LIQUIDITY SOLUTIONS, INC.     282                              - (S)                - (S)                       Modify and Allow. Based on careful review of
TRANSFEROR: BARTLETT, ELLEN   2/13/09                          - (A)                - (A)                       the Debtors’ Books and Records, their
ONE UNIVERSITY PLAZA          09-10138                         - (P)                - (P)                       Schedules and the Proofs of Claim, including
SUITE 312                     Nortel Networks Inc.   $17,882.36 (U)        $9,491.71 (U)                        the supporting documentation provided by
HACKENSACK, NJ 07601                                 $17,882.36 (T)        $9,491.71 (T)                        the Claimant, the Debtors have determined
                                                                                                                the claim amount should be adjusted from
                                                                                                                the amount listed in the column entitled Total
                                                                                                                Amount Claimed to the amount listed in the
                                                                                                                column entitled Modified Claim Amount.
                                                                                                                Claim Amount.

                                                                                                                Pursuant to ERISA, the Pension Benefit
                                                                                                                Guaranty Corporation is the sole authority to
                                                                                                                properly assert a claim on account of benefits
                                                                                                                under a single-employer pension plan.
                                                                                                                Therefore, claimant's No-Basis Pension
                                                                                                                Claim is not a liability of the Debtors or their
                                                                                                                estates
LOPEZ, RICARDO                2298                             - (S)          Disallowed                        Claim is redundant of claim 6361 filed by the
C5 CALLE 6                    8/28/09                          - (A)                                            claimant or an affiliate of the claimant
BAYAMON, PR 00959-8140        NO DEBTOR                        - (P)                                            asserting the same underlying liability.
                                                     $43,290.00 (U)                                             Remaining claim 6361 has also been
                                                     $43,290.00 (T)                                             modified, reclassified and/or applied to the
                                                                                                                correct debtor on this Exhibit.




(S) - Secured                                                                                                                                      Page 3 of 5
(A) - Administrative
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                                                            Exhibit B
                                  Modified, Reclassified and/or Wrong Debtor and Allowed Claims
                                                                and
                                 Amended or Superseded, Redundant and No-Basis 503(b)(9) Claims
Claim to be Modified
                              Claim Number                              Modified Claim
                              Date Filed             Total Amount         Amount or         New Case Info and   Reason for Modification
Name/Address of Claimant      Case Info                 Claimed        Disallowed Claim     Identified Debtor   or Disallowance

LOPEZ, RICARDO A              6361                             - (S)                - (S)                       The Claim asserts liability for termination
C5 CALLE 6                    12/22/09                         - (A)                - (A)                       benefits.
BAYAMON, PR 00959-8140        09-12515                         - (P)                - (P)
                              Nortel Networks        $40,274.97 (U)       $43,528.03 (U)                        Modify and Allow. Based on careful review of
                              (CALA), Inc.           $40,274.97 (T)       $43,528.03 (T)                        the Debtors’ Books and Records, their
                                                                                                                Schedules and the Proofs of Claim, including
                                                                                                                the supporting documentation provided by
                                                                                                                the Claimant, the Debtors have determined
                                                                                                                the claim amount should be adjusted from
                                                                                                                the amount listed in the column entitled Total
                                                                                                                Amount Claimed to the amount listed in the
                                                                                                                column entitled Modified Claim Amount.
                                                                                                                Claim Amount.

                                                                                                                Pursuant to ERISA, the Pension Benefit
                                                                                                                Guaranty Corporation is the sole authority to
                                                                                                                properly assert a claim on account of benefits
                                                                                                                under a single-employer pension plan.
                                                                                                                Therefore, claimant's No-Basis Pension
                                                                                                                Claim is not a liability of the Debtors or their
                                                                                                                estates
LOPEZ, RICARDO A              6362                            - (S)           Disallowed                        Claim is redundant of claim 6361 filed by the
CALLE 6C-5 ALT DE FLAMBOYAN   12/22/09               $40,274.97 (A)                                             claimant or an affiliate of the claimant
BAYAMON, PR 00959             09-12515                        - (P)                                             asserting the same underlying liability.
                              Nortel Networks                 - (U)                                             Remaining claim 6361 has also been
                              (CALA), Inc.           $40,274.97 (T)                                             modified, reclassified and/or applied to the
                                                                                                                correct debtor on this Exhibit.
NAQVI, JAFFAR                 2366                             - (S)                - (S)                       Modify and Allow. Based on careful review of
13 SUVA CT.                   8/31/09                          - (A)                - (A)                       the Debtors’ Books and Records, their
SAN RAMON, CA 94582           09-10138                         - (P)       $1,949.80 (P)                        Schedules and the Proofs of Claim, including
                              Nortel Networks Inc.   $24,751.72 (U)       $25,763.68 (U)                        the supporting documentation provided by
                                                     $24,751.72 (T)       $27,713.48 (T)                        the Claimant, the Debtors have determined
                                                                                                                the claim amount should be adjusted from
                                                                                                                the amount listed in the column entitled Total
                                                                                                                Amount Claimed to the amount listed in the
                                                                                                                column entitled Modified Claim Amount.
                                                                                                                Claim Amount.



(S) - Secured                                                                                                                                      Page 4 of 5
(A) - Administrative
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(T) - Total Claimed
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                                                                                             Exhibit B
                                                        Modified, Reclassified and/or Wrong Debtor and Allowed Claims
                                                                                      and
                                                       Amended or Superseded, Redundant and No-Basis 503(b)(9) Claims
Claim to be Modified
                                                   Claim Number                                            Modified Claim
                                                   Date Filed                       Total Amount             Amount or            New Case Info and      Reason for Modification
Name/Address of Claimant                           Case Info                           Claimed            Disallowed Claim        Identified Debtor      or Disallowance

TRAN, THANH T                                      8362                               $7,991.98 (S)                     - (S)                            The Claim asserts liability for termination
2013 BROOK TREE DR.                                9/12/12                                     - (A)                    - (A)                            benefits.
GARLAND, TX 75040                                  09-12515                                    - (P)                    - (P)
                                                   Nortel Networks                    $2,650.18 (U)           $11,634.74 (U)                             Modify and Allow. Based on careful review of
                                                   (CALA), Inc.                      $10,642.16 (T)           $11,634.74 (T)                             the Debtors’ Books and Records, their
                                                                                                                                                         Schedules and the Proofs of Claim, including
                                                                                                                                                         the supporting documentation provided by
                                                                                                                                                         the Claimant, the Debtors have determined
                                                                                                                                                         the claim amount should be adjusted from
                                                                                                                                                         the amount listed in the column entitled Total
                                                                                                                                                         Amount Claimed to the amount listed in the
                                                                                                                                                         column entitled Modified Claim Amount.
TRAN, THANH T.                                     8364                                       - (S)               Disallowed                             Claim is redundant of claim 8362 filed by the
2013 BROOK TREE DR                                 9/12/12                           $10,642.16 (A)                                                      claimant or an affiliate of the claimant
GARLAND, TX 75040                                  09-12515                                   - (P)                                                      asserting the same underlying liability.
                                                   Nortel Networks                            - (U)                                                      Remaining claim 8364 has also been
                                                   (CALA), Inc.                      $10,642.16 (T)                                                      modified, reclassified and/or applied to the
                                                                                                                                                         correct debtor on this Exhibit.

 Totals:                                             11 Claims                        $7,991.98 (S)            $7,991.98 (S)
                                                                                     $50,917.13 (A)                    - (A)
                                                                                     $72,684.18 (P)           $39,123.70 (P)
                                                                                    $163,793.87 (U)          $228,522.39 (U)
                                                                                    $295,387.16 (T)          $275,638.07 (T)

    * The term "unspecified" refers to claims for dollar amounts listed as "unknown", "$0.00", "unascertainable", "undetermined", or where no dollar amounts were entered in the spaces provided on
    the proof of claim form.




(S) - Secured                                                                                                                                                                               Page 5 of 5
(A) - Administrative
(P) - Priority
(U) - Unsecured
(T) - Total Claimed
